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From:                           Do Not Reply <do_not_reply@laed.uscourts.gov>
Sent:                           Thursday, March 27, 2025 10:16 AM
To:                             eFile-ProSe

Subject:                        New EDSS Filing Submitted
Attachments:                    Motion to Disqualify Counsel for X Corp.pdf




Greetings Pro Se Desk,

A new EDSS filing has been submitted through the portal. The filing was submitted on Thursday, March 27, '
2025 -10:16.

The information for this submission is:


Filer's Name: Hiran Rodriguez

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Filer's Phone Number: 504-203-8459


Filer's Case Number (If Known): 2:25-CV-00197

Filer's Case Name (If Known): Rodriguez v. Meta Platforms, Inc., et al

Submitted Document Description: MOTION TO DISQUALIFY COUNSEL FOR DEFENDANT X CORP. DUE
TO RETALIATORY CONDUCT, CONFLICT OF INTEREST, AND PROFESSIONAL MISCONDUCT




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